                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                 DOCKET NO. 3:11CR373-FDW

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
                                    )
               v.                   )
                                    )                                 ORDER
KAMAL ZAKI QAZAH,                   )
                                    )
                        Defendant.  )
___________________________________ )
PETITION OF                         )
WAEL N. AUDI                        )
___________________________________ )

       THIS MATTER is before the Court pursuant to a forfeiture settlement between the

United States of America, by and through Anne M. Tompkins, United States Attorney, and

petitioner Wael N. Audi, pro se, pursuant to Fed. R. Crim. P. 32.2(c). The parties have

consented to a settlement with regard to the following property (the “subject property”) listed in

the Preliminary Order of Forfeiture (By Consent) (Doc. 306) filed herein on June 13, 2013 (the

“Preliminary Order”): II.B.3. Bank of America xxxxxxxx5091 - $3553.39. The government is

also requesting that the Court amend the Preliminary Order to reflect this settlement and order

the release of the agreed amount.

       The government and petitioner have stipulated and agreed and the Court finds as follows:

       1. Petitioner has filed a timely petition in response to the Preliminary Order and the

Court has jurisdiction over the subject property. The petition is not signed under penalty of

perjury, but the government will waive any objection on this basis in light of the fact that

Petitioner is not represented by counsel.

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       2. Defendant Qazah (“defendant”) has or had an interest in the property that is subject to

forfeiture under the applicable statutes. The property consists of funds seized from a bank

account in the name of K&W of Columbia, LLC, (“K&W”), an LLC which is owned jointly by

defendant and Petitioner. For purposes of this proceeding only, the parties agree that legal

ownership by K&W may be disregarded, that K&W does not need to file a petition, and that the

property should be treated as owned jointly by defendant and Petitioner.

       3. Petitioner is more than 18 years of age and does not wish to retain an attorney for this

proceeding.

       4. The United States and Petitioner have agreed to a settlement regarding forfeiture and

the interest asserted by petitioner, subject to the Court’s approval, as follows:

               (a) The subject property shall be forfeited in part and released in part, with 50%,

       or $1776.69, to be forfeited and 50%, or $1776.70, to be released to Petitioner.

               (b) The petition shall be granted in part in that the sum of $1776.70 shall be paid

       to petitioner, in accordance with applicable law. The Preliminary Order shall be

       amended accordingly.

               (c) Petitioner, for himself and for K&W, hereby releases and forever discharges

       the United States, its agents, servants and employees, its successors or assigns, and all

       state or local governmental entities or law enforcement agencies in North Carolina and

       their agents, servants and employees, their heirs, successors, or assigns, from any and all

       actions, causes of action, suits, proceedings, debts, dues, contracts, judgments, damages,

       claims, and/or demands whatsoever in law or equity which Petitioner or his heirs,

       successors, or assigns or K&W ever had, now have, or may have in the future in

       connection with this investigation, prosecution, and forfeiture.



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        Moreover, on August 2, 2013, through August 31, 2013, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from August 2. 2013, for a hearing to adjudicate the validity of any

alleged legal interest in the property. See Doc. 355. Except as stated above, it appears from the

record that no petitions have been filed to assert an interest in the asset which is the subject of the

government’s motion.

        Based on the foregoing findings, IT IS THEREFORE ORDERED:

        1. The terms and conditions of the settlement are approved and incorporated in the order.

        2. The Preliminary Order is hereby amended to delete the sum of “$3,553.39” and to

provide that the sum of $1776.69 is forfeited to the United States.

        3. The remaining $1776.70 shall be released and paid to Petitioner in accordance with

applicable law.

        4. Each party shall bear its own costs in this ancillary forfeiture proceeding.

        5. The government’s motion filed on October 29, 2013, (Doc. 385) to dismiss the instant

petition is deemed to be withdrawn at the government’s request or, in the alternative, denied as

moot.

                                                        Signed: May 26, 2014




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